            Case 1:17-vv-01126-UNJ Document 42 Filed 09/13/19 Page 1 of 7




                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: August 21, 2019

* * * * * * *                   *   *    *    *   *    *
MICHAEL BACOTTI,                                       *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 17-1126V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Influenza (“Flu”); Guillain-Barré
AND HUMAN SERVICES,                                    *                 syndrome (“GBS”); Stipulation.
                                                       *
                  Respondent.                          *
*    * *     *    * * * *           *    *    *   *    *

Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Christine M. Becer, United States Department of Justice, Washington, DC, for respondent.

                                      DECISION ON STIPULATION1

        On August 21, 2017, Michael Bacotti (“petitioner”) filed a petition for compensation
within the National Vaccine Injury Compensation Program.2 Petition (ECF No. 1). Petitioner
received an influenza (“flu”) vaccination on or about September 21, 2016. Stipulation filed
August 21, 2019 (ECF No. 40) (“Stipulation”) at ¶ 4. Petitioner alleged that as a result of that flu
vaccination, he suffered Guillain-Barré syndrome (“GBS”). Id. at ¶ 4.

        On August 21, 2019, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation. Respondent denies that the flu
vaccination caused petitioner to suffer from GBS or any other injury. Id. at ¶ 6. Maintaining
their respective positions, the parties nevertheless now agree that the issues between them shall


1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The Court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion
is posted on the Court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the Court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will
be posted on the Court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
           Case 1:17-vv-01126-UNJ Document 42 Filed 09/13/19 Page 2 of 7



be settled and that a decision should be entered awarding compensation according to the terms of
the stipulation attached hereto as Appendix A. Id. at ¶ 7.

        The stipulation awards:

        1) A lump sum of $800,431.75, in the form of a check payable to petitioner. This
           amount representing compensation for all damages that would be available
           under 42 U.S.C. § 300aa-15(a).

       I adopt the stipulation as the decision of the Court in awarding damages. I hereby award
compensation in the amount and on the terms set forth therein. Accordingly, the Clerk of the
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).


                                                         2
Case 1:17-vv-01126-UNJ Document 42 Filed 09/13/19 Page 3 of 7
Case 1:17-vv-01126-UNJ Document 42 Filed 09/13/19 Page 4 of 7
Case 1:17-vv-01126-UNJ Document 42 Filed 09/13/19 Page 5 of 7
Case 1:17-vv-01126-UNJ Document 42 Filed 09/13/19 Page 6 of 7
Case 1:17-vv-01126-UNJ Document 42 Filed 09/13/19 Page 7 of 7
